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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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                                    WESTERN DIVISION
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     JOSE JACOBO, et al.,                    15-cv-04701-MWF-AGR
14
                      Plaintiffs,
15                                           [PROPOSED] ORDER EXTENDING
           vs.                               SETTLEMENT DEADLINES AND
16                                           FINAL APPROVAL HEARING
     ROSS STORES, INC., et al.,
17                                           DATE
                      Defendants.
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                 [PROPOSED] ORDER EXTENDING SETTLEMENT DEADLINES
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 1         The Court, having considered the papers and arguments submitted in support of
 2   the Parties Stipulation to Extend Settlement Deadlines and Final Approval Hearing
 3   Date, finds and orders as follows:
 4         IT IS HEREBY ORDERED THAT:
 5         Pursuant to the Stipulation of the Parties, the Court hereby extends and
 6   re-sets the settlement administration deadlines and date for hearing on the
 7   Parties’ anticipated Motion for Final Approval as follows:
 8
 9    EVENT                                                              DATE
10    Notice to Class by means of email to be disseminated by            January 21, 2019
11    Notice to Class by means of magazine/newspaper publication         January 21, 2019
12    to be completed by
13    Notice to Class by means of electronic/internet publication to     March 1, 2019
14    be completed by
15    Last date for Class Members to file written objections to the      May 31, 2019
16    Settlement
17    Last date for Class Members to submit completed Opt-Out            May 31, 2019
18    Form
19    Last date for Class Members to submit valid claims                 May 31, 2019
20    Final Approval Hearing                                             July 22, 2019
21                                                                       At 10:00 a.m.
22
23         IT IS SO ORDERED
24
             Jan 3
      Dated: ____________, 2019
25
                                              HON. MICHAEL W. FITZGERALD
26                                            United States District Judge
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                   [PROPOSED] ORDER EXTENDING SETTLEMENT DEADLINES
